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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 UNITED STATES OF AMERICA,                            Case No. 16-cr-00477-VC
                 Plaintiff,
                                                      ORDER GRANTING MOTIONS TO
           v.                                         SUPPRESS
 DONNELL ARTIS, et al.,                               Re: Dkt. Nos. 118, 127, 130
                 Defendants.



       1. The search of Donnell Artis's cell phone pursuant to the April 5 search warrant

violated the Fourth Amendment for the following reasons:

            As explained in a concurrently-filed published ruling, Special Agent Stonie Carlson,

             as a federal law enforcement officer, lacked the authority to search Artis's phone

             pursuant to a warrant issued by a judge of the Alameda County Superior Court.

            Aside from this foundational problem, the government now disclaims reliance on the
             most important fact offered by Carlson in the affidavit. Specifically, the affidavit said

             that agents had searched the residence of Artis's girlfriend and had seen counterfeit

             credit cards in Artis's name. The government has disclaimed the fruits of this search,

             in part out of an apparent concern that the agents conducted it unlawfully. See Nov.

             29, 2017 Hearing Tr. 8:19-9:2; United States' Omnibus Response to Defense Motions

             at 12 (Dkt. No. 156). Therefore, the most significant factual basis in the affidavit for

             probable cause to search Artis's cell phone has been nullified. See United States v.

             Bishop, 264 F.3d 919, 924 (9th Cir. 2001); United States v. Vasey, 834 F.2d 782, 788
             (9th Cir. 1987); United States v. Grandstaff, 813 F.2d 1353, 1355-56 (9th Cir. 1987)
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    (per curiam).

   Another fact offered by Carlson in the affidavit was a statement by a confidential

    informant that Artis was involved in credit card fraud. However, the affidavit does

    not explain why the confidential informant should be deemed reliable. And the

    primary corroboration for the confidential informant's statement – the information

    about the search of Artis's girlfriend's apartment – is no longer being considered, per

    the government's request. See Bishop, 264 F.3d at 924-26; United States v. Morales,

    252 F.3d 1070, 1073-77 (9th Cir. 2001); United States v. Bertrand, 926 F.2d 838,

    842-43 (9th Cir. 1991); United States v. Angulo-Lopez, 791 F.2d 1394, 1396-98 (9th

    Cir. 1986).

   The only other facts offered by Carlson in the affidavit were that there were three

    outstanding warrants for Artis's arrest and that Artis had fled from Carlson and

    another law enforcement agent earlier that day. This information could presumably

    have supported a warrant to search Artis's phone for evidence of his whereabouts, but

    the affidavit did not seek authority to search Artis's cell phone for evidence of his

    whereabouts. Rather, it vaguely sought permission to search the cell phone for

    evidence of "criminal activity," without bothering to specify with precision the

    suspected crime of which evidence was sought. See United States v. Kow, 58 F.3d
    423, 427 (9th Cir. 1995); United States v. Wey, 256 F. Supp. 3d 355, 384-85

    (S.D.N.Y. 2017); cf. United States v. Hanes, 336 F. App'x 690, 692 (9th Cir. 2009);

    United States v. SDI Future Health, Inc., 568 F.3d 684, 704 n.14 (9th Cir. 2009).

    Without the information about the search of Artis's girlfriend's apartment, and without

    any information about the reliability of the confidential informant, there was no

    probable cause to believe that evidence of a particular criminal activity (such as credit

    card fraud) was on Artis's phone. See United States v. Luong, 470 F.3d 898, 904-05

    (9th Cir. 2006) (explaining that all information establishing probable cause must be




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           contained within the four corners of the warrant affidavit).1

       2. The use of a cell-site simulator to locate Chanta Hopkins, pursuant to the April 7

search warrant, also violated the Fourth Amendment:

          Use of a cell-site simulator requires a warrant. See United States v. Ellis, 270 F.

           Supp. 3d 1134, 1141-46 (N.D. Cal. 2017); United States v. Lambis, 197 F. Supp. 3d

           606, 609-11 (S.D.N.Y. 2016); Jones v. United States, 168 A.3d 703, 711-17 (D.C.

           2017); see also Carpenter v. United States, No. 16-402, slip op. at 1-2, 16-23 (U.S.

           June 22, 2018).

          Again, Carlson lacked the authority to execute this warrant as it was issued by a

           California state judge.

          The government, yet again, disclaims reliance on significant facts presented by

           Carlson in the affidavit seeking authority to use the cell site simulator to locate

           Hopkins. This time, it is a description of a search of Hopkins's prior residence in

           Oakland during which officers discovered firearms and evidence of credit card fraud.

           It seems likely, from the government's description of this search, that it was

           conducted without a warrant and was unconstitutional, so the government is wise to

           disclaim reliance on it. See Stipulation and Order re August 20, 2015 Warrantless

           Search of Jefferson Street Apartment (Dkt. No. 177); Nov. 29, 2017 Hearing Tr. 9:3-
           10:5.

          Even assuming the remaining information in the affidavit established probable cause

           to believe that Hopkins was involved in criminal activity, it did not set forth probable

           cause to believe that the phone number being targeted by Carlson belonged to

           Hopkins. The affidavit contains only one piece of information on this issue: a


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  Artis also argues that his cell phone was unlawfully seized in the wake of a physical struggle
with the officers on April 5. However, this argument overlooks the fact that the officers were
entitled to attempt to arrest a known fugitive, and that the evidence from the evidentiary hearing
was that Artis dropped his phone while trying to escape this attempted arrest. In light of these
circumstances, Carlson lawfully seized the phone.


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            statement by a confidential informant that the number belonged to Hopkins. But, as

            with the April 5 warrant, Carlson's affidavit did not explain why the confidential

            informant should be considered reliable; nor did it contain any other information to

            corroborate the informant's assertion that the number belonged to Hopkins.2

            Although the government refers generally in its briefs to the idea that a person has a

            lower expectation of privacy if he's a fugitive, that is beside the point here, because

            the affidavit failed to establish that the number belonged to a known fugitive.

            Accordingly, use of a cell-site simulator on that number was not supported by

            probable cause.

        3. The good faith exception to the exclusionary rule does not apply in this case. Perhaps

any one of the above-referenced errors, viewed in isolation, could be excused under the good

faith exception. But the whole string of errors embodied in these warrant applications militates

against applying the good faith exception. Indeed, although the above-described errors are the

most egregious ones, they are not the only instances of sloppy, inappropriate law enforcement

work:

           Even if Carlson was unaware that California law does not authorize state judges to

            issue search warrants to federal law enforcement officers, as an FBI agent, Carlson

            should have given thought (and probably should have sought guidance on the
            question from the United States Attorney's Office) to whether he was required under

            Federal Rule of Criminal Procedure 41 to obtain the search warrants from a federal

            magistrate judge. Carlson testified at the evidentiary hearing that he submitted the

            April 5 warrant application to a state judge because Artis was a state fugitive, and

            because he didn't know whether a federal criminal case would be brought against

            Artis. However, Carlson knew there was an open FBI gang investigation that had

2
  Hopkins disputes whether Carlson actually saw the phone number flash on Artis's phone before
he sought search warrants for it. However, Carlson's subsequent declarations and testimony at
the evidentiary hearing make clear that he saw the number on Artis's phone and, on that basis,
sought search warrants related to it.


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    connections to the defendants, and another open FBI investigation relating to

    Hopkins. Because these investigations could have led to charges brought in federal

    court, because this investigation related on some level to those existing investigations,

    and because Carlson is a federal law enforcement officer who participated in each of

    these searches in a significant way, there is an argument that the searches were

    "federal in character" – which would mean that Carlson also violated Rule 41 by not

    going to a federal magistrate judge. At a minimum, Carlson should have more

    seriously considered whether Rule 41 applied, which neither he nor the government

    appears to have done. See United States v. Martinez-Garcia, 397 F.3d 1205, 1213

    (9th Cir. 2005); United States v. Garner, 119 F. App'x 119, 122-23 (9th Cir. 2004);

    United States v. Palmer, 3 F.3d 300, 303 (9th Cir. 1993); United States v. Negrete-

    Gonzales, 966 F.2d 1277, 1283 (9th Cir. 1992); United States v. Luk, 859 F.2d 667,

    671-73 (9th Cir. 1988); United States v. Crawford, 657 F.2d 1041, 1046 (9th Cir.

    1981); United States v. Radlick, 581 F.2d 225, 228 (9th Cir. 1978); see also Lustig v.

    United States, 338 U.S. 74, 78-79 (1949).

   Although it seems apparent from the context and from the paperwork associated with

    the April 5 and 7 search warrants that Carlson was contemplating that he and/or other

    federal officers would execute them, the boilerplate search warrant forms submitted
    by Carlson and signed by the judges were directed "to any peace officer in the County

    of Alameda." In addition, the affidavit for the April 5 warrant said that Carlson was

    "requesting that the Magistrate specifically authorize [him] to assist California Peace

    Officers and the United States Marshal's Service with the service of this order"

    (emphasis added). The same affidavit, however, also requested that "any federal,

    state, and/or local law enforcement officers be allowed to conduct the search of Artis'

    cellular telephone." The language in the affidavits was thus inconsistent and

    carelessly drafted. It risked the possibility that a judge who did not examine the
    paperwork carefully would assume federal officers would be merely assisting state


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           officers in conducting the searches. This is another of the many ways in which

           Carlson's affidavits reflected a reckless disregard of his obligation to clearly inform

           the judges of all the pertinent facts.3

          In his April 7 search warrant application to use a cell-site simulator, Carlson did not

           adequately describe how the technology would function, leaving it to the judge to

           guess how it would work. This may also have been a constitutional defect in the

           warrant application. But at a minimum, it was dangerously sloppy, risking the

           possibility that the state court judge may not have understood the invasiveness of the

           searches she was authorizing. See United States v. Tutis, 216 F. Supp. 3d 467, 478-81

           (D.N.J. 2016); see generally Dalia v. United States, 441 U.S. 238, 257 (1979).

          Even once the federal prosecution had begun, Carlson did not provide the affidavit for

           the cell-site simulator warrant to the case agent in this case. Nor could Carlson recall

           whether he had even informed the case agent or the federal prosecutor on the case

           that he had used a cell-site simulator to locate Hopkins until the case had proceeded

           to the stage at which the present motions were being filed.

       Considered in its totality, the conduct in this case is not the type of relatively isolated,

negligent law enforcement conduct for which the good faith exception was designed; it reflects a

systematic, repeated recklessness – both by Carlson alone and by his law enforcement partners –
that requires exclusion of the evidence. See Davis v. United States, 564 U.S. 229, 238-40 (2011);

Herring v. United States, 555 U.S. 135, 144-48 (2009); United States v. Lustig, 830 F.3d 1075,

1079-85 (9th Cir. 2016); United States v. Dreyer, 804 F.3d 1266, 1281 (9th Cir. 2015) (en banc);

United States v. Camou, 773 F.3d 932, 944-45 (9th Cir. 2014); United States v. Underwood, 725

F.3d 1076, 1084-88 (9th Cir. 2013); United States v. Song Ja Cha, 597 F.3d 995, 1004-07 (9th

Cir. 2010); Luong, 470 F.3d at 902-05.

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  This is not to say, however, that the state court judges should not have inquired whether
Carlson intended for federal officers to execute the warrants, and then rejected the warrant
applications upon receiving a response in the affirmative. The paperwork submitted by Carlson
raised numerous flags in that regard.


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       By the same token, Hopkins's arrest did not meaningfully attenuate the connection

between the unlawful search and the evidence discovered on Hopkins's person and at his

apartment. Notwithstanding the existence of an outstanding arrest warrant for Hopkins, the

systematic and reckless misconduct of law enforcement in this case precludes the application of

the attenuation doctrine. See Utah v. Strieff, 136 S. Ct. 2056, 2063 (2016) (citing Davis, 564

U.S. at 236-37); United States v. Gorman, 859 F.3d 706, 718-19 (9th Cir. 2017). And in contrast

to Utah v. Strieff, which involved a type of search that does not require a warrant (that is, a

search incident to arrest), use of a cell-site simulator requires a search warrant regardless of

whether a defendant has an outstanding arrest warrant, because, as discussed previously, an

officer seeking to use a cell-site simulator must demonstrate not merely probable cause to believe

that a person is subject to arrest or has engaged in criminal activity, but also probable cause to

believe that the targeted phone number belongs to that person. See also United States v. Patrick,

842 F.3d 540, 549-51 (7th Cir. 2016) (Wood, J., dissenting). But see id. at 542 (majority op.).

       Accordingly, the evidence obtained as a result of the search of Artis's phone is suppressed

and may not be used against Artis. However, the evidence obtained as a result of this search may

still be used against the other defendants (including Hopkins) to the extent it is otherwise

admissible. Additionally, the evidence obtained as a result of the April 7 cell-site simulator

search on Hopkins's phone is suppressed and may not be used against Hopkins. This includes
the evidence seized from Hopkins when he was arrested outside his apartment, and the evidence

obtained during the search of his apartment (because the warrant to search his apartment was

based on the evidence seized from Hopkins during his arrest). This evidence may, however, be

used against the other defendants (including Artis) to the extent it is otherwise admissible. See

United States v. Giraudo, 225 F. Supp. 3d 1078, 1080 (N.D. Cal. 2016) (citing Lyall v. City of

Los Angeles, 807 F.3d 1178, 1085-87 (9th Cir. 2015)).

       As to the evidence from the federal search warrants executed after the unlawful search of

Artis's phone and the unlawful use of the cell-site simulator, the parties have not adequately
discussed whether that evidence was the fruit of those unlawful searches. A status conference is


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scheduled for July 17, 2018, at 10:30 a.m., to figure out how to tee up this issue, along with any

other remaining pretrial issues.

       IT IS SO ORDERED.

Dated: July 3, 2018
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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